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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             :
                                                     :
                                                     :
              v.                                     :       Case No. 21-CR-359 (DLF)
                                                     :
TRAVIS DELONTE HANEY,                                :
                                                     :
                   Defendant.                        :


       GOVERNMENT=S MEMORANDUM REGARDING THE MODIFICATION
              OF DEFENDANT’S CONDITIONS OF RELEASE 1

       On May 14, 2021, a federal grand jury returned an Indictment charging Defendant Travis

Haney with one count of Unlawful Possession of a Firearm and Ammunition by a Person

Convicted of a Crime Punishable by Imprisonment for a Term Exceeding One Year, in violation

of 18 U.S.C. § 922(g)(1), stemming from his unlawful possession of a handgun and ammunition

on May 11, 2021. An Arrest Warrant was also issued and the defendant was arrested on the warrant

related to the District Court indictment on May 19, 2021.

       On May 21, 2021, Judge Meriweather entered an Order Setting Conditions of Release for

the defendant in this case. [ECF No. 12.] The defendant was thereby released on a Personal

Recognizance Bond into the High Intensity Supervision Program (“HISP”) with home detention

utilizing GPS monitoring. The Order specified that the defendant must not “violate federal, state,

or local law while on release,” “possess a firearm,” and other conditions of release.

       On May 28, 2021, one week after the defendant’s conditional release in this case, the

defendant was arrested by the Metropolitan Police Department (MPD) for threatening another


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 The government hereby seeks to withdraw its Memorandum in Support of Motion to Revoke Conditional
Release Order pursuant to 18 U.S.C. § 3142(f)(1)(E) filed on June 7, 2021 [ECF No. 16].

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person with a firearm, and then physically assaulting that person, at the same residence as the

defendant’s home detention in this case. On May 29, 2021, the defendant was charged by

Information in D.C. Superior Court with Assault, in violation of 22 D.C. Code § 404, and

Attempted Possession of a Prohibited Weapon, in violation of 22 D.C. Code §§ 4514(b) and 1803

(Case No. 2021 DVM 583). The defendant was detained at presentment on May 29, 2021, pursuant

to 23 D.C. Code § 1322(a)(1)(A). The next status conference in that case is currently scheduled

for June 15, 2021.

        As a result of that re-arrest, the Pretrial Services Agency for the District of Columbia filed

a Pretrial Violation Report in this case on June 2, 2021 [ECF No. 13]. Based on the defendant’s

detention status in Case No. 2021 DVM 583, the report noted that the defendant is no longer

eligible for HISP and required that he be removed from supervision.

        At the June 4, 2021, status hearing for this case, the government indicated that it was

moving to revoke the defendant’s order of release for violation of a release condition, pursuant to

18 U.S.C. § 3148. The Court set a briefing schedule and scheduled a motion hearing for June 10,

2021.

        The government has undertaken a review of the records and circumstances pertaining to

the defendant’s May 28, 2021 arrest, to include at least 16 body-worn camera videos from MPD

officers totaling more than 12 hours of total footage, as well as numerous reports from responding

officers and investigators. The circumstances of the incident are complex. Although the

government is very concerned about the defendant’s involvement in this incident, the

government’s review of the incident is ongoing. The record potentially involves multiple

statements given by the complainant and a witness/complainant to multiple officers. As a result,

the government does not currently intend to submit evidence to the Court in order to demonstrate

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there is probable cause to believe that the defendant committed a Federal, State, or local crime

while on release, pursuant to 18 U.S.C. § 3148(b)(1)(A), and the government will no longer seek

the revocation of the defendant’s conditional release pursuant to Section 3148(b) due to the

defendant’s May 28, 2021 arrest at this juncture. 2

        However, in body-worn camera footage that has been reviewed to-date, it appears that

during his arrest, a barring notice was issued by the D.C. Housing Authority. In light of that barring

notice, it appears that the defendant cannot return to the location that had previously been approved

by Pretrial Services, as part of his conditions of release in this case. Although the government had

previously consented to the defendant’s release in this case with conditions, such release was

subject to the defendant having a residence where he could reside on home confinement that meets

the requirements set forth by Pretrial Services. The government would also note that it appears that

the defendant was in possession of marijuana at the time of his re-arrest. The government would

request that the Court impose additional conditions requiring that the defendant not possess or use

any controlled substances as a term of his supervision.

                                                          Respectfully submitted,

                                                          CHANNING D. PHILLIPS
                                                          Acting United States Attorney

                                                 By:       /s/ Thomas G. Strong
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  The Court asked the parties to provide notice regarding whether they will call any witnesses for the
June 10, 2021, detention hearing. As the government no longer intends to proceed in moving for revocation
under 18 U.S.C. § 3148 at this time, the government will not be calling any witnesses to testify on June 10.

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                               CERTIFICATE OF SERVICE

       I hereby certify that I caused a copy of the foregoing to be served upon counsel of record
via the Electronic Case Filing (ECF) system on June 9, 2021.




                                            By:      /s/ Thomas G. Strong
                                                    Thomas G. Strong
                                                    Assistant United States Attorney




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